                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JAN BUKOWSKI,                 )
                              )                       Case No. 2019-cv-6859
              Plaintiff,      )
                              )                       Hon. Sharon Johnson Coleman
v.                            )
                              )                       Magistrate Judge Maria Valdez
                              )
CHICAGO MEAT AUTHORITY, INC., )
                              )                       JURY DEMANDED
                              )
              Defendant.      )

                                   AMENDED COMPLAINT

        NOW COMES the Plaintiff, Jan Bukowski, by and through his attorneys, FUKSA

KHORSHID, LLC, and for his Amended Complaint against Defendant, Chicago Meat Authority,

Inc., states as follows:

                                        INTRODUCTION

        1.      Plaintiff Jan Bukowski (“Plaintiff” or “Bukowski”) seeks redress for age

discrimination in violation of the Age Discrimination in Employment Act of 1967, 29 U.S.C. §623

et seq. (“ADEA”); creating a hostile work environment in violation of the Illinois Human Rights

Act (“IHRA”) (775 ILCS § 5/1-101, et seq.) against Chicago Meat Authority, Inc. (“Defendant”

or “CMA”); and, for creating a hostile work environment in violation of the ADEA against CMA.

        2.      Defendant’s actions as alleged herein constitute a continuing violation.

                                  JURISDICTION & VENUE

        3.      This Court has jurisdiction pursuant to 28 U.S.C. §1331 this case arises under

federal law, namely the ADEA. This Court also has jurisdiction pursuant to ADEA 29 U.S.C.




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§626(c)(1). This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to

28 U.S.C. 1367(a).

       4.      Plaintiff filed a charge of age discrimination with the United States Equal

Employment Opportunity Commission (“EEOC”) which is contemporaneously cross-filed with

the Illinois Department of Human Rights (“IDHR”) on or about March 29, 2019. A true and

accurate copy of Plaintiff’s Charge of Discrimination is attached and incorporated as Exhibit A.

       5.      On or about July 18, 2019, the EEOC issued a “Notice of Right to Sue” to Plaintiff.

Plaintiff’s ADEA, and IHRA claims are timely made within 90 days of the EEOC’s notice, giving

him the right to file those claims. Plaintiff’s original complaint was timely filed on or about

October 16, 2019.

       6.      Venue is appropriate in the Northern District of Illinois pursuant to 28 U.S.C.

§1391(b).

                FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

       7.      Plaintiff Bukowski is a 64 year-old male and a resident of Cook County, Illinois.

       8.      Defendant CMA is an Illinois for-profit corporation engaged in the production and

distribution of meat products.

       9.      CMA’s corporate headquarters is located at 1120 W. 47th Place, Chicago, Illinois

60609, and on information and belief CMA operates a meat processing plant located at or near this

address (the “Chicago Plant”).

       10.     Kazimierz Hornik, at all relevant times, was employed by CMA as a supervisor of

Defendant’s employees at the Chicago Plant, including the Plaintiff.




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       11.     In addition, Plaintiff was also under the supervision of Taiwo Sheleru who oversaw

maintenance and upkeep of Defendant’s equipment and who assigned tasks and other daily job

duties to employees, including Plaintiff.

       12.     Plaintiff began working for CMA in or about February, 2017 and worked as an

electrical-mechanic maintenance worker at the Chicago Plant.

       13.     At all times during Plaintiff’s employment, Hornik and Sheleru supervised Plaintiff

and Plaintiff reported to Hornik and Sheleru.

       14.     Plaintiff satisfactorily performed his duties at all times during his employment.

       15.     During Bukowski’s employment, Defendant subjected Bukowski to age

discrimination, and created and perpetuated a hostile work environment, including but not limited

to making comments regarding Plaintiff’s age (including the solicitation of a quid pro quo from

Plaintiff in order to keep his job), and exposed Plaintiff to adverse employment consequences

including termination of Plaintiff’s employment due to his age.

       16.     Plaintiff first experienced unequal treatment due to his age in or about May, 2018

in an incident involving another co-worker, Danny Bernotus (“Bernotus”). At or about this time,

several of Defendant’s maintenance employees would take a morning break set to begin at

approximately 8:30 a.m. These maintenance employees (which includes Plaintiff) would stagger

this break such that three employees would leave for their break, while at least one individual

stayed behind to be present in case of emergency.

       17.     On this particular occasion, three other maintenance workers took their morning

break at 8:30 a.m. Plaintiff stayed behind so that at least one individual was present in case of

emergency. Upon the return of these three employees, Plaintiff then proceeded to take this break

beginning at 9:00 a.m.



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       18.     However, upon learning that Plaintiff was taking his break at 9:00 a.m., Bernotus

verbally berated Plaintiff and ordered that he immediately return to work. Bernotus then escalated

the situation and reported Bukowski to a Human Resources staff member named Patricia.

       19.     Plaintiff met with Patricia and explained the process whereby one employee would

stay behind in case of emergency, but Patricia refused to acknowledge Plaintiff’s explanation of

the misunderstanding. She also refused to document Plaintiff’s recollection of the incident or take

any further action inform Plaintiff of Defendant’s policy going forward.

       20.     Instead, Defendant suspended Plaintiff from work for three days as a result of this

incident.

       21.     This disproportionate level discipline against Plaintiff combined with Human

Resources’ complete lack of impartiality in receiving and addressing Plaintiff’s complaints was

carried out and directed towards Plaintiff because of his age. Defendant marginalized Plaintiff and

levied an unequal level of discipline against him in order to force Plaintiff out of his employment

or to otherwise create a pretextual basis to terminate his employment.

       22.     In or about November, 2018, while Bukowski was at work he was approached by

Hornik. In their conversation, Hornik then told Bukowski that he was “too old” to continue in his

position or to keep his job.

       23.     Then Hornik propositioned Bukowski and said that he could held Bukowski keep

his job on the condition that Bukowski pay Hornik a sum of $2,000. Hornik then threatened

Bukowski’s job and said that if Bukowski was unwilling to pay Hornik’s demand, that Defendant

would terminate Bukowski’s employment and find a younger person to take his place.

       24.     Bukowski unequivocally declined Hornik’s proposition and refused to pay the

demand.



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        25.     After the encounter, Hornik began to treat Bukowski differently than his coworkers.

Hornik drastically limited his interactions with Bukowski and persistently found flaws and faults

in Bukowski’s performance when objectively no such flaws or faults existed.

        26.     Hornik continued to single out Plaintiff and treat him differently because Hornik

believed that Plaintiff was too old to continue working for Defendant. This included but is not

necessarily limited to forcing Plaintiff to eat his lunch alone by scheduling his lunch break

separately from any other employees.

        27.     Defendant continued to allow Plaintiff to be mistreated by his coworkers in the

months that followed.

        28.     In or about January, 2019, a machine had ran out of plastic wrap and Plaintiff took

the initiative to tend to the back of the machine to install a new roll. It was at this time that Bernotus

snuck up on Plaintiff and stuck a long piece of packing tape on Plaintiff’s backside. Initially,

Plaintiff discovered the tape and asked Bernotus to stop the behavior.

        29.     A short while later, Bernotus continued to pick on Plaintiff and once again

surreptitiously stuck a long piece of packing tape on Plaintiff’s backside to create the look of a tail.

        30.     Plaintiff had not immediately noticed the ongoing trick that Bernotus had pulled

until Plaintiff saw several co-workers looking at him and laughing. Plaintiff then noticed the tape,

removed it and threw it away.

        31.     During this incident Plaintiff did not touch or otherwise escalate the conflict with

any other employee.

        32.     Shortly thereafter, another employee named Wanda Las balled up the tape, threw it

at Plaintiff while calling him a “stupid idiot.” There was no write up by Defendant or its Human

Resources department on any of these incidents.



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          33.   On or about February 7, 2019 at 5:00 a.m., Bukowski was servicing and preparing

a “VC999” machine for operation as instructed by another supervisor, Taiwo Sheleru (“Sheleru”).

          34.   At or about 5:30 a.m., Sheleru returned to the area and found Bukowski sharpening

blades for the VC999 machine. Sheleru instructed Bukowski to stop sharpening the machine’s

blades.

          35.   In response, Bukowski explained to Sheleru that the work had just been completed

and that he had finished the blade sharpening. Sheleru, misconstruing Bukowski’s explanation as

insubordination, then raised his voice to Bukowski and ordered Bukowski to return to the office.

          36.   Bukowski explained that the office was still closed at that time of day and Sheleru

responded by hitting Bukowski on the back of and top of his head and Sheleru shoved Bukowski

into a nearby sink.

          37.   That morning, Bukowski attempted to report the incident to another supervisor.

This supervisor indicated that he would pull Sheleru aside and speak with him about his treatment

towards Bukowski. Bukowski’s supervisor further instructed Bukowski to meet with human

resources to file an accident report.

          38.   Bukowski met with Defendant’s human resources department on the afternoon of

February 7, 2019. At that meeting, the human resources representative, Patricia, asked Plaintiff if

he understood what it meant to be “fired.” Patricia then notified Plaintiff that his employment was

terminated effective immediately.

          39.   Bukowski was denied the opportunity to submit an accident report or any other

report on the incident with Sheleru. At the time of his termination, Patricia knew of the incident

involving Hornik’s quid pro quo and his demand for payment in exchange to protect Plaintiff’s

job.



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       40.      Bukowski’s employment was terminated on February 7, 2019. At this time he was

64 years old.

       41.      On or about March 29, 2019 Plaintiff filed a charge of discrimination based on age

discrimination and hostile work environment with the EEOC, which is shared with the IDHR

through the agencies’ work-share agreement.

                                              COUNT I
                            Violation of the ADEA for Age Discrimination

       42.      Plaintiff restates and realleges by reference paragraphs 1 through 41 above as

though fully set forth herein against Defendant.

       43.      On or about March 29, 2019, Bukowski filed a charge of discrimination based on

his age against CMA with the EEOC. A true and accurate copy of the charge is attached hereto as

Exhibit A.

       44.      The EEOC issued a Notice of Right to Sue on or about July 18, 2019. A true and

accurate copy of the Notice is attached hereto as Exhibit B.

       45.      Bukowski was 64 years old at the time of his termination and was a member of the

ADEA’s protected class of workers over the age 40.

       46.      On or about February 7, 2019 Bukowski suffered an adverse employment action

when he was terminated from his employment with CMA due to his age.

       47.      During the term of his employment, Bukowski met the expectations required of his

position and performed his job duties competently and as instructed by his supervisors.

       48.      Bukowski suffered an adverse employment action when Hornik (Defendant’s

employee and agent) made comments about Bukowski’s age and told Bukowski that he was “too

old” to continue working for Defendant. Hornik also attempted to extort $2,000 from Bukowski

feigning a promise that payment would ensure Bukowski’s continued employment with CMA.

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        49.    Bukowski also suffered an adverse employment action when he was terminated,

without cause, after the incident involving Taiwo Sheleru in which Sheleru hit and shoved

Bukowski for allegedly not following Sheleru’s instructions.

        50.    CMA’s basis for terminating Bukowski was unsupported by the underlying facts

and was used merely as a pretext for terminating Bukowski due to his age.

        51.    CMA unlawfully discriminated against Plaintiff when it terminated Bukowski due

to his age and not because of his performance or ability to perform his job.

        52.    As a direct and proximate result of CMA’s actions, Plaintiff has suffered severe

compensatory damages, including without limitation, loss of employment, damage to his

professional reputation, back pay, front pay, overtime pay, vacation days, retirement benefits and

other benefits, emotional distress, and other make whole damages.

        WHEREFORE, Plaintiff, Jan Bukowski, prays that this Honorable Court enter judgment

in his favor and against Defendant Chicago Meat Authority, Inc. and grant relief in the following

form:

        A.     All wages and benefits Plaintiff would have received but for the discrimination,

including prejudgment interest;

        B.     Compensatory damages in an amount to be determined at trial;

        C.     Defendant be required to pay prejudgment and post judgment interest to Plaintiff

on these damages;

        D.     A declaratory judgment that Defendant’s action violated the ADEA;

        E.     An award of reasonable attorneys’ fees, costs, and litigation expenses; and,

        F.     Such other relief as the Court may deem just or equitable.




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                                       COUNT II
         Violation of IHRA for Age Discrimination and Hostile Work Environment

        53.     Plaintiff restates and realleges by reference paragraphs 1 through 52 above as

though fully set forth herein against Defendant.

        54.     Defendant CMA is an “employer” within the meaning of the IHRA.

        55.     Plaintiff is an “employee” within the meaning of the IHRA.

        56.     Defendant violated the statue by subjecting Plaintiff to age discrimination and a

hostile work environment.

        57.     Defendant, as an employer, is subject to the requirements of the IHRA.

        58.     Defendant, as an employer, should not discriminate against its employees because

of their age.

        59.     Defendant, as an employer, has an obligation to ensure that its employees are not

discriminated against based on their age.

        60.     Defendant knows that employment decisions cannot be made on the basis of an

employee’s age.

        61.     Defendant knows that it has an obligation to ensure that employees are not

subjected to a hostile work environment based on age.

        62.     Defendant knows that it has an obligation to ensure that employees are not

subjected to a hostile work environment based on the fact that an employee has complained about

unlawful conduct, discrimination, and/or a hostile work environment.

        63.     Defendant, as an employer, should have a policy against discrimination and

harassment.

        64.     Defendant violated that policy by discriminating against Plaintiff based on his age.




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       65.     As a result of Defendant’s unlawful conduct, Plaintiff has suffered compensatory

damages, lost wages, back pay and front pay, lost future wages, future pecuniary damages,

humiliation and embarrassment, damage to his reputation, emotional distress, and other make

whole damages.

       WHEREFORE, Plaintiff prays for judgment against Defendant in an amount to be proven

in excess of $50,000 and such other relief as the Court may deem just or equitable, including but

not limited to compensatory damages, back pay, front pay, pre judgment interest, lost future wages,

future pecuniary damages, reasonable attorneys’ fees, costs, and litigation expenses as a result of

Defendant’s unlawful conduct.

                                           COUNT III
                       Violation of the ADEA for Hostile Work Environment

       66.     Plaintiff restates and realleges by reference paragraphs 1 through 65 above as

though fully set forth herein against Defendant.

       67.     The actions of Defendant, as perpetrated by its agents and as described and

complained of above, are unlawful employment practices in that they have the effect of

discriminating against, depriving and tending to deprive equal employment to, and otherwise

adversely affecting Plaintiff because of his age, in violation of the ADEA.

       68.     Defendant CMA is an “employer” within the meaning of the ADEA.

       69.     Plaintiff is an “employee” within the meaning of the ADEA.

       70.     Plaintiff has performed all conditions precedent to filing this case under the ADEA.

       71.     Defendant violated the ADEA by subjecting Plaintiff to age discrimination and a

hostile work environment.




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       72.      Specifically, Defendant (through its agent) made comments about Plaintiff’s ability

to continue his employment due to his age and conditioned Plaintiff’s continued employment on

the payment of a sum of $2,000 to Hornik.

       73.      Further, Defendant perpetuated a hostile work environment by allowing its

employees, such as Sheleru, to physically assault Plaintiff at his workplace, and failing to

discipline its employees for using physical violence against Plaintiff.

       74.      Defendant also allowed employees, including Danny Bernotus, to tease, humiliate,

insult, harass and bully Plaintiff without reprimanding Bernotus and others or otherwise imposing

any consequences against him for this improper behavior.

       75.      Defendant failed to take any action to curtail the misconduct of its employees, and

in the process knew or should have known that its employees were engaging in severe and

pervasive harassment directed towards the Plaintiff as a result of his age.

       76.      Defendant’s conduct, carried out through its employees, created a subjectively and

objectively hostile work environment for Plaintiff due to Plaintiff’s age.

       77.      Defendant, as an employer, is subject to the requirements of the ADEA.

       78.      Defendant, as an employer, should not discriminate against its employees because

of their age and it has an obligation to ensure that its employees are not discriminated against based

on their age.

       79.      Defendant knows that employment decisions cannot be made on the basis of an

employee’s age and that it has an obligation to ensure that employees are not subjected to a hostile

work environment based on age.

       80.      Defendant knows that it has an obligation to ensure that employees are not

subjected to a hostile work environment based on the fact that Bukowski reported each of the



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above described incidents to his supervisor and/or to Defendant’s Human Resources department

and had attempted to submit a written complaint about unlawful conduct, discrimination, and/or a

hostile work environment which Human Resources declined to make part of Plaintiff’s file.

       81.     Defendant, as an employer, should have a policy against age discrimination and

harassment.

       82.     Defendant subjected Plaintiff to unequal and discriminatory treatment by creating

a hostile and abusive work environment that altered the conditions of Plaintiff’s employment and

by knowingly failing and refusing to protect Plaintiff from those hostile and abusive conditions.

       83.     As a result of Defendant’s unlawful conduct, Plaintiff has suffered compensatory

damages, lost wages, back pay and front pay, lost future wages, future pecuniary damages,

humiliation and embarrassment, damage to her reputation, emotional distress, and other make

whole damages.

       WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment in Plaintiff’s

favor and against the Defendant for the following:

       A.      All wages and benefits Plaintiff would have received but for the

       discrimination, including prejudgment interest;

       B.      Compensatory damages in an amount to be determined at trial;

       C.      Defendant be required to pay prejudgment interest to Plaintiff on these damages;

       D.      A permanent injunction enjoining the Defendant from engaging in the

       discriminatory practices complained of herein;

       E.      A permanent injunction requiring that the Defendant adopts employment practices

       and policies in accord and conformity with the requirements of the ADEA, and further




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      requiring that Defendant adopts and initiate effective remedial actions to ensure equal

      treatment of employees regardless of age;

      F.     A declaratory judgment that Defendant’s actions violate the ADEA;

      G.     The Court retain jurisdiction of this case until such time as it is assured that

      Defendant has remedied the policies and practices complained of herein and is

      determined to be in full compliance with the law;

      H.     An award of reasonable attorneys’ fees, costs, and litigation expenses; and,

      I.     Such other relief as the Court may deem just or equitable.

                                                   Respectfully Submitted,
                                                   FUKSA KHORSHID, LLC

                                                   /s/ Vincent P. Formica
                                                   Vincent P. Formica
                                                   Attorney for Plaintiff

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                                      JURY DEMAND

               Plaintiff hereby demands a trial by jury on all issues so triable.


                                                   /s/ Vincent P. Formica
                                                   Vincent P. Formica
                                                   Attorney for Plaintiff




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